Case 6:16-cv-01831-RBD-KRS Document 31 Filed 04/10/17 Page 1 of 2 PageID 266




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   JORGE RAMIREZ

           Plaintiff
   v.                                                   Case No. 6:16-cv-1831-Orl-37KRS

   GROUP SERVICES, INC.
       Defendant


    DEFENDANT’S SPECIAL APPEARANCE TO REQUEST LEAVE TO REPLY
            TO PLAINTIFF’S OPPOSITION AT DOCKET NO. 29

   TO THE HONORABLE COURT:

           COMES NOW Defendant, Group Services, Inc. (“Defendant” or “GSI”), by

   special appearance and through its undersigned legal counsels, and, without submitting

   to the Court’s jurisdiction, respectfully states and prays as follows:

        1. On April 7, 2017, Plaintiff, Jorge Ramírez, filed its Opposition to Defendant’s

   Motion to Dismiss First Amended Complaint for Lack of Personal Jurisdiction, for

   Failure to State a Claim for Which Relief Can be Granted and for Improper Venue

   [Docket No. 29](“Opposition”).

        2. Defendant respectfully submits that Plaintiff’s Opposition alleges matters beyond

   those discussed in Defendant’s Motion, [Docket No. 26], and further contains erroneous

   allegations and interpretation of law that need to be properly addressed, discussed, and

   corrected through a reply motion. This analysis is crucial for the Court’s evaluation on

   whether the captioned-case must be dismissed as requested.




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Case 6:16-cv-01831-RBD-KRS Document 31 Filed 04/10/17 Page 2 of 2 PageID 267




      3. Accordingly, Defendant by and through its undersigned counsel, very respectfully

   requests leave to reply to the Opposition submitted by Plaintiff, which it expects to not to

   exceed 15 pages and to file on or before April 21st, 2017.

          Respectfully submitted,

          IT IS HEREBY CERTIFIED that on this date, we electronically filed the

   foregoing with the Clerk of the Court using the CM/ECF system that will send

   notification of such filling to the attorneys of record.

          In Land O Lakes, Florida and San Juan, Puerto Rico, respectively, this 10th day of

   April, 2017.

                                                  s/Karla Gonzalez-Acosta
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                                                  Appearing Pro Hac Vice




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